Case 2:04-cV-0244O-.]DB-tmp Document 38 Filed 08/02/05 Page 1 of 2 Page|D 40

IN THE UNITED sTATEs DrsTRICT cOURT F"'ED B"' ~®£g°'”'
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVIsIoN 05 AUG '2 P" l*" 55
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LEO CLARK and LILLIE CLARK, CLERI,<H(J,§*S[§H§TMM
' _ wa sr tila retires
Plaintlffs,
v- No. 04-2440-B/P

WALGREEN CO., and TEVA
PHARMACEUTICAL INDUSTRJES LTD.,
TEVA PHARMACEUTICALS NORTH AMERICA,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff’s Motion for Voluntary Nonsuit filed on July 22, 2005. This
matter is hereby referred to the United States Magistrate Judge for determination and/or a report
and recommendation Any objections to the magistrate judge’s order and/or report and
recommendation shall be made within ten (10) days after service of the report, setting forth
particularly those portions of the order/report objected to and the reasons for the objections
Failure to timely assign as error a defect in the magistrate judge’s order/report will constitute
a Waiver of that objection. §c_e Rule 72(a), Federal Rules of Civil Procedure.

IT IS SO ORDERED this day of August, 2005 .

 

. DANIEL BREEN
U ITE STATES DISTRICT J DGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:04-CV-02440 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

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Honorable .1. Breen
US DISTRICT COURT

